              Case 23-10831-MFW         Doc 916-1      Filed 01/18/24     Page 1 of 2




                                 CERTIFICATE OF SERVICE

                I, Tori L. Remington, hereby certify that on January 18, 2024, I caused the foregoing

Certificate of No Objection Regarding the Fourth Monthly Staffing and Compensation Report of

Huron Consulting Services LLC for the Period from November 1, 2023, Through November 30,

2023 (the “CNO”) to be served upon the parties set forth on the attached service list in the manner

indicated.    I further certify that all ECF participants registered in these cases were served

electronically on January 18, 2024 with the CNO through the Court’s ECF system at their respective

email addresses registered with the Court.



                                                      /s/ Tori L. Remington
                                                      Tori L. Remington (DE No. 6901)




167052226v1
              Case 23-10831-MFW          Doc 916-1        Filed 01/18/24        Page 2 of 2



 Email and First Class Mail
                                                      Email and First Class Mail
 (Co-Counsel to Debtors and
                                                      (Co-Counsel to Debtors and
 Debtors in Possession)
                                                      Debtors in Possession)
 Donald J. Detweiler
                                                      David M. Turetsky
 Morgan L. Patterson
                                                      WHITE & CASE LLP
 WOMBLE BOND DICKINSON (US) LLP
                                                      1221 Avenue of the Americas
 1313 North Market Street, Suite 1200
                                                      New York, NY 10020
 Wilmington, Delaware 19801
                                                      david.turetsky@whitecase.com
 don.detweiler@wbd-us.com
 morgan.patterson@wbd-us.com

 Email and First Class Mail                           Email and First Class Mail
 (Co-Counsel to Debtors and Debtors in Possession     Benjamin Hackman
 Thomas E. Lauria, Matthew C. Brown,                  U.S. Trustee
 and Fan B. He                                        Office of the United States Trustee
 WHITE & CASE LLP                                     J. Caleb Boggs Federal Building
 200 South Biscayne Boulevard, Suite 4900             844 King Street, Suite 2207
 Miami, FL 33131                                      Lockbox 35
 tlauria@whitecase.com; mbrown@whitecase.com          Wilmington, DE 19801
 fhe@whitecase.com                                    benjamin.a.hackman@usdoj.gov

 First Class Mail                                     Email and First Class Mail
 The Debtors, c/o Lordstown Motors Corporation        (Co-Counsel to Equity Committee)
 Attn: Adam Kroll                                     Robert J. Stark and Bennett S. Silverberg
 27000 Hills Tech Ct.                                 BROWN RUDNICK LLP
 Farmington Hills, MI 48331                           7 Times Square
                                                      New York, NY 10036
                                                      rstark@brownrudnick.com
                                                      bsilverberg@brownrudnick.com
 Email and First Class Mail
 (Co-Counsel to Equity Committee)
                                                      Email and First Class Mail
 Eric J. Monzo and Brya M. Keilson
                                                      (Co-Counsel to Equity Committee)
 MORRIS JAMES LLP
                                                      Matthew A. Sawyer
 500 Delaware Avenue, Suite 1500
                                                      BROWN RUDNICK LLP
 Wilmington, DE 19801
                                                      One Financial Center
 emonzo@morrisjames.com
                                                      Boston, MA 02111
 bkeilson@morrisjames.com
                                                      msawyer@brownrudnick.com




                                                    -2-
167052226v1
